 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 1 of 12
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1                  IN THE UNITED STATES DISTRICT COURT

2                   FOR THE SOUTHERN DISTRICT OF TEXAS

3                              LAREDO DIVISION

4    IN RE: ASSOCIATED PRESS, ET AL §        CASE NO. 5:22-MC-00111
                                    §        LAREDO, TEXAS
5    VERSUS                         §        THURSDAY,
                                    §        DECEMBER 15, 2022
6    UNITED STATES OF AMERICA       §        10:01 A.M. TO 10:24 A.M.

7                      STATUS CONFERENCE (VIA ZOOM)

8                 BEFORE THE HONORABLE ANDREW M. EDISON
                      UNITED STATES MAGISTRATE JUDGE
9

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12        APPEARANCES:                       SEE NEXT PAGE

13        ELECTRONIC RECORDING OFFICER: VANESA ARANDA

14        CASE MANAGER:                      RUBEN CASTRO

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 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 2 of 12
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1                         APPEARANCES (VIA ZOOM):

2

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                                       FREEDOM OF THE PRESS
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                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 3 of 12
                                                                         3


1       LAREDO, TEXAS; THURSDAY, DECEMBER 15, 2022; 10:01 A.M.

2               THE COURT:     Okay.   Let's go on the Record.

3               Good morning, everyone.      This is the United States

4    District Court for the Southern District of Texas.          I'm

5    Judge Andrew Edison presiding.

6               We're here this morning on Case 5:22-MC-00111,

7    In Re: Associated Press.

8               Who do we have for the Applicants?

9               MR. CLARY:     Grayson Clary for the Applicants, Your

10   Honor, with my colleague, Katie Townsend.

11              THE COURT:     Good to see you all.

12              And for the United States?

13              MS. CHOY:     Good morning, Your Honor.     Celia Choy

14   from the Department of Justice.

15              THE COURT:     Ms. Choy, good to see you, as well.

16              Thanks for joining me on relatively short notice.

17   This will hopefully be short and sweet.        Obviously we have

18   the Application to Unseal that's pending, the Government

19   filed a Response.      We sort of have a detour, if you will,

20   there's some questions about what should or shouldn't be

21   unsealed with respect to the Response.        Obviously now we've

22   got to get to the ultimate issue in the case.          We've got the

23   Application.   We've got a Response and fairness obviously

24   dictates that the Applicants get a chance to Reply.

25              The reason I just wanted to have this hearing is




                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 4 of 12
                                                                         4


1    you tell me when you want to file a Reply.

2               It's -- I totally defer to you.       We have the

3    Holidays coming up.     I don't mean to put anyone under any

4    time pressure in the Holidays.      In fact, I personally feel

5    comports in a timely (indiscernible) for the Holidays so I

6    don't know how much time you need.       But in effect, whatever

7    time you want, whether it's tomorrow or if it's within two

8    months, I'm going to give you whatever you want.

9               MR. CLARY:    We appreciate that, Your Honor.        Happy

10   to touch on the briefing.      So on the nearest one

11   (indiscernible) after that (indiscernible).

12              THE COURT:    Not -- absolutely.

13              MR. CLARY:    In terms of timing, I think seven days

14   from today -- you know, the standard timeline under the

15   Local Rules (indiscernible) so Thursday, December 22nd, if

16   that sounds reasonable to the Court.

17              THE COURT:    Let's make it Friday, December 23rd.

18              MR. CLARY:    That works, too.     Thank you, Your

19   Honor.

20              THE COURT:    And then --

21              MR. CLARY:    The other --

22              THE COURT:    -- go ahead.    I'm sorry.

23              MR. CLARY:    Oh, the other point we just wanted to

24   call the Court's attention to is on Monday before the Court

25   ruled on that one additional redaction that the Government




                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 5 of 12
                                                                         5


1    requested, the Government -- for reasons that aren't clear

2    to us -- sent my co-counsel and I an unredacted copy of that

3    notice.

4               We have not shared the underlying information with

5    our clients, but we wanted to draw the Court's attention to

6    it for two reasons.     One is that that redaction goes to an

7    issue we were planning to brief on, Reply in any event, for

8    reasons that I'm sure the Court can understand, and we want

9    to avoid a situation where the Government is suggesting that

10   we derived improper advantage from having access to that

11   information.

12              And then the second raises -- we raise it, is we

13   don't think that redaction is justified.        Partly for reasons

14   that I think will be clear to the Court from our Reply, but

15   also because the Government disclosed it to us voluntarily

16   under conditions that there was no protective order or

17   sealing order that would have prevented us from distributing

18   it.

19              So we think for that reason alone, the presumption

20   of access would require that that particular redaction be

21   lifted.

22              THE COURT:    Okay.   You catch me cold on this one.

23   I'm not sure if Ms. Choy was aware of this?

24              MS. CHOY:    If I may, Your Honor?

25              It was my understanding from the notice that Your




                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 6 of 12
                                                                         6


1    Honor had filed that you had served the proposed redaction

2    on counsel for the Applicant.       I received a notice stating

3    that copies had been served on Ms. Townsend and Mr. Clary.

4                 And so based on that understanding, and also that

5    -- so the redaction was under seal at that time, we need to

6    (indiscernible) them.      So based on that understanding, I was

7    under the impression that the counsel for the Applicants

8    already were aware of that -- those three words that we

9    suggested be redacted.      And that's for based on

10   (indiscernible), I thought there was no depositions do not

11   ex parte because I thought that they already had that

12   information.

13                THE COURT:   Okay.

14                MS. CHOY:    So it was --

15                MR. CLARY:   (Indiscernible).

16                THE COURT:   I gotcha.    Just so the Record is

17   clear, my proposed redactions were not sent to the other

18   side.     In fact, I made sure that -- we took extra

19   precautions to make sure that -- you know, as I promised

20   what I was going to do was obviously I thought certain

21   redactions should be made.        I thought my Order explaining

22   why should be made public, but respecting the Government's

23   request to basically give them the opportunity to appeal

24   whatever decision, I held that under seal until obviously on

25   Monday.    I think the Government indicated it was not going




                       JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 7 of 12
                                                                          7


1    to appeal.

2                 I understand the issue.    I guess I'm curious --

3    you know, I wonder -- I guess I'm hoping the parties could

4    talk about it and figure out a way to -- you know, the three

5    magic words, how to -- what to do with that or not do it,

6    but I'm not sure what else I do right now as I sit here

7    today.

8                 MS. CHOY:    Well, Your Honor --

9                 THE COURT:   I'm just balancing this out.      I'm just

10   thinking this out loud.      I'm just trying to think out loud.

11   Like, you know, what do I do right now?

12                MS. CHOY:    It's (indiscernible) communication,

13   Your Honor, and I may have been (indiscernible), so I have

14   been proceeding under the assumption that your proposed

15   redactions were under seal, but that you had provided them

16   to opposing counsel and so it was my intention that that

17   information remain under seal.

18                So I'd ask Your Honor that you order that they not

19   disclose that information, and I think it's within your

20   power to seal that unredacted version that we can serve on

21   them.

22                MR. CLARY:   We would object to that, Your Honor.

23   I mean, there isn't a protective order in place in this case

24   that would have in any way restricted us the moment we got

25   that email from sharing with our clients.         We refrained out




                       JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 8 of 12
                                                                          8


1    of respect for the Court's (indiscernible).

2                 So from our perspective, I understand where the

3    confusion came from.      The Docket did inadvertently indicate

4    that your Order, although not the redaction, was provided to

5    my co-counsel when it wasn't.       But in the absence of some

6    kind of sealing order or protective order there in the first

7    instance, I think in a lot of clearing cases like this, that

8    kind of inadvertent disclosure was never the rationale for

9    it.   This initiates the issue of secrecy and (indiscernible)

10   and as long as the law requires (indiscernible) to unseal

11   that one.

12                THE COURT:   To be honest, I'm not sure what to do

13   right now.    I guess I've got to give it some thought.

14         (Pause in the proceedings.)

15                THE COURT:   All righty.   I didn't see this coming

16   this morning.

17                MR. CLARY:   It's a procedurally interesting case.

18         (Laughter.)

19                THE COURT:   I'm just going to be honest.        I'm

20   curious.     Does anyone want to think on this?         I guess I sort

21   of may want to think about this, or do I just got to decide

22   to unseal or seal?

23                MR. CLARY:   I mean, we would be happy to meet and

24   confer with the Government separately and see if the parties

25   can come to an agreement, then file something that at least




                       JUDICIAL TRANSCRIBERS OF TEXAS, LLC
 Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 9 of 12
                                                                          9


1    reflects the parties' respective positions on the issue if

2    it would be helpful to the Court?

3               MS. CHOY:    That would be fine with the Government,

4    Your Honor.

5               THE COURT:    How much time do you want to do that?

6               I guess here's really the question:         Do you want

7    to do that today/tomorrow?       Or would it be helpful if I put

8    you in a zoom room to talk among yourselves now and then

9    come back or -- I'll do whatever you-all want.

10              MR. CLARY:    My co-counsel and I believe would be

11   available to talk now.

12              MS. CHOY:    I'm available now.

13              THE COURT:    Okay.    Let me do this then.     Let me --

14   I'll put you in a zoom room here for a couple of minutes.

15   Let you chat and then just I think (indiscernible) either

16   ask for help or get help because as soon as you do, I assume

17   what I'll do is I'll just close the rooms and we'll come

18   back and obviously have a good session.

19              So I'm going to -- in a second as soon as I go off

20   the Record, I'm going to put you-all in a zoom room.          If you

21   would just accept and go talk for a second then we'll come

22   back.

23              So we're off the Record.

24        (Recess taken from 10:11 a.m. to 10:22 a.m.)

25                               AFTER RECESS




                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 10 of 12
                                                                            10


1              THE COURT:     Okay.   Let's go back on the Record.

2    Sorry about that.    I'm not sure how long you've had -- I

3    walked in the other room for a moment, came back and saw the

4    button flashing.

5              Talk to me.

6              MR. CLARY:     I think we were able to reach

7    agreement on a course of action that makes sense to the

8    Court.   I think both parties --

9              THE COURT:     Let me just say this, Mr. Clary, if

10   the parties are agreed, I agree.

11             MR. CLARY:     The parties would propose that the

12   Court defer ruling on our objection to that one redaction

13   until it's had the opportunity to rule on the merits of the

14   Application.   And in the meantime, we will find a way of

15   writing around it in our Reply without revealing what that

16   redaction says.

17             THE COURT:     Understood completely.         I will grant

18   that request and I greatly appreciate it.

19             And just so the Record is clear -- and I apologize

20   for the confusion -- obviously these proposed redactions, I

21   had those sealed.    My understanding now as I've checked it,

22   that apparently the notice that was sent out indicated that

23   a copy had been sent to Mr. Clary and Ms. Townsend and then

24   in about five minutes it was changed, but I understand the

25   confusion and I apologize for that.        But I really appreciate




                       JUDICIAL TRANSCRIBERS OF TEXAS, LLC
Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 11 of 12
                                                                           11


1    both sides working together.

2              So just so we're clear, the Applicants will file

3    the Reply on the 23rd.     We'll get on it, try to get a ruling

4    after I've reviewed everything as quickly as possible and I

5    wish everyone a Great Holiday Season and happiness, health,

6    and prosperity in the New Year.

7              So thank you all very much.

8              Anything else we need to address any further from

9    either side?

10             MR. CLARY:    Nothing from us, Your Honor.

11             MS. CHOY:    Nothing from the Government, Your

12   Honor.

13             THE COURT:    Okay.   Thanks so much.        Have a great

14   day and Great Holiday Season.

15             We're off the Record.      Thank you.

16             MS. CHOY:    Thank you, Your Honor.

17             MR. CLARY:    Thank you.

18        (Hearing adjourned at 10:24 a.m.)

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                      JUDICIAL TRANSCRIBERS OF TEXAS, LLC
Case 5:22-mc-00111 Document 21 Filed on 12/23/22 in TXSD Page 12 of 12
                                                                         12


1                  I certify that the foregoing is a correct

2    transcript to the best of my ability from the electronic

3    sound recording of the ZOOM/video/telephonic proceedings in

4    the above-entitled matter.

5    /S/ MARY D. HENRY
6    CERTIFIED BY THE AMERICAN ASSOCIATION OF

7    ELECTRONIC REPORTERS AND TRANSCRIBERS, CET**337

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9    JTT TRANSCRIPT #66645

10   DATE FILED:    DECEMBER 22, 2022

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